Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 1 of 51




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


 Civil Action No. 1:19-cv-00872-MEH

 CHASE MANUFACTURING, INC., d/b/a
 THERMAL PIPE SHIELDS,

                                  Plaintiff,

 v.

 JOHNS MANVILLE CORPORATION,

                                  Defendant.


                  FIRST AMENDED COMPLAINT WITH JURY DEMAND




        1.      Chase Manufacturing, Inc., doing business as Thermal Pipe Shields, brings this ac-

 tion against Johns Manville Corporation for its deliberate, systematic, and illegal attempts to main-

 tain its 98% monopoly in a market for calcium silicate thermal insulation; by tying sales of calcium

 silicate thermal insulation to other Johns Manville industry-standard products that distributors

 need; by threatening to refuse to supply any customer that buys competing products from Thermal

 Pipe Shields; by forcing customers to deal exclusively with Johns Manville; by falsely disparaging

 the quality of Thermal Pipe Shields products (even though they come from the identical factory

 that Johns Manville had once used); and by attempting to destroy competition in that market by

 other exclusionary tactics; and, for its complaint, Thermal Pipe Shields alleges as follows:




                                                  1
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 2 of 51




                                  JURISDICTION AND VENUE

        2.      This Court has subject matter jurisdiction of this action under sections 4 and 16 of

 the Clayton Act, 15 USC §§ 15 and 26; 15 USC § 1231, the Lanham Act; and 28 USC § 1331 and

 28 USC § 1367. The actions alleged affect interstate commerce.

        3.      This Court has personal jurisdiction over Johns Manville Corporation, and venue

 is proper in this District under 15 USC § 22, because the defendant’s headquarters are located in

 Denver, Colorado.

                                             PARTIES

        4.      Chase Manufacturing, Inc. is a privately-held company organized under the laws

 of the State of Washington. It is in the business of supplying mechanical insulation products, in-

 cluding calcium silicate thermal insulation, for distributors that sell to construction contractors,

 and does business under the name Thermal Pipe Shields.

        5.      Johns Manville Corporation is organized under the corporate laws of the State of

 Delaware, with its head office located in Denver, Colorado. It is a wholly-owned subsidiary of

 Berkshire Hathaway. Johns Manville manufactures and sells construction products, including me-

 chanical insulation products such as calcium silicate thermal insulation. 1

                                      RELEVANT MARKET

        6.      This action involves “calsil” insulation pipe and block products. “Calsil” is a short-

 hand term for hydrous calcium silicate thermal insulation that is factory formed into flat blocks or


        1
           Based on Johns Manville’s counsel’s representation that “as of December 31, 2018, In-
 dustrial Insulation Group merged into Johns Manville and no longer exists as a separate legal en-
 tity. Johns Manville is the proper legal entity to be named in the complaint,” Thermal Pipe
 Shields is not naming Industrial Insulation Group as a defendant in this First Amended Com-
 plaint.


                                                  2
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 3 of 51




 curved sections designed to encapsulate pipes, equipment or tanks. It is manufactured in accord-

 ance with ASTM C533 Type I. (ASTM International, whose former name was the American So-

 ciety for Testing and Materials, is an international standards organization that publishes material

 specifications widely used by engineers to qualify generic product types, as opposed to specifying

 a brand-name product.)

         7.     Calsil replaced asbestos as the industry standard for mechanical insulation in mid-

 high temperature applications starting around 1973. The applications include piping, tanks, and

 other equipment that operate at temperatures up to 1200° Fahrenheit within large industrial facili-

 ties, such as oil refineries, chemical and power generation plants and pulp and paper mills.

         8.     Because of its unique physical properties, calsil is extremely heat resistant and pro-

 vides very high compressive strength to resist damage and physical abuse much better than other

 products. Its extreme durability provides long service life by preventing crushing due to on-site

 foot traffic and abuse; it is inherently non-combustible; it generates no smoke when exposed to

 flame, which provides passive fire protection; it contains integral corrosion-inhibiting chemistry;

 and it offers low thermal conductivity to prevent heat loss and reduce the surface temperature of

 insulated surfaces, characteristics that protect workers from burn injuries in the plant. These spe-

 cial attributes of calsil make it the essential insulation for mid- to high-temperature piping and

 equipment because there are no reasonably interchangeable substitutes that provide the same com-

 bination of physical properties with the accompanying benefits that meet the requirements of

 ASTM C533 Type I: Standard Specification for Calcium Silicate Block and Pipe Thermal Insula-

 tion.




                                                  3
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 4 of 51




        9.         Calsil’s performance characteristics for heat resistance, corrosion resistance, abuse

 resistance, and fire resistance make it exceptionally and uniquely suitable for industrial applica-

 tions where heat-resistant insulation is required such as in process areas where there is significant

 risk of corrosion under insulation (CUI) or fire outbreak; or locations within 16 feet of ground

 level, where there is a greater likelihood that workers may stand or walk on the piping or equip-

 ment, and where, therefore, there is a greater need for the high compressive strength of the product.

        10.        As a result, based on performance and life cycle cost, industrial project engineers

 specify calsil because there are no reasonably interchangeable substitutes that meet all of these

 specifications.

        11.        Based on all these factors, calsil is a distinct product market.

        12.        The demand for calsil is national, and calsil is sold to distributors at their respective

 locations in every market in the United States. As a result, the geographic market for calsil is

 national.

        13.        At one point there were eight United States calsil factories owned by competing

 manufacturers. But over time, through plant closures and every other manufacturer exiting the

 market, Johns Manville now owns and operates the only two remaining calsil factories in North

 America.

        14.        Johns Manville now has a market share of at least 98% of the United States calsil

 market, which is believed to be about $50 million per year.

        15.        To be used and accepted by customers, calsil must meet North American market

 requirements, meaning it must meet or exceed all physical properties in accordance with ASTM

 C533 Type I.



                                                      4
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 5 of 51




         16.     The use of ASTM standards promotes competition by allowing the use of various

 competing products in a project as long as they meet the ASTM performance specifications. This

 standard creates a significant barrier to entry. There are only three factories in the entire world that

 can produce calsil that not only meets all applicable ASTM C533 Type I requirements, but is also

 produced with North American sizing norms for both length and dimensional tolerances in accord-

 ance with ASTM C585: Standard Practice for Inner and Outer Diameters of Thermal Insulation

 for Nominal Sizes of Pipe and Tubing. Two of those factories are in the United States and both are

 owned by Johns Manville. The third is in Shanghai, China, which sells its calsil in North America

 exclusively to Thermal Pipe Shields, as set forth below.

         17.     Both Johns Manville and Thermal Pipe Shields sell mechanical insulation products,

 including calsil, almost exclusively through distributors. The only exception to sales through dis-

 tributors is that Johns Manville makes a very limited portion of its sales directly to certain long-

 time consumers and that portion is decreasing. There are five major mechanical insulation distrib-

 utors that dominate the country. These five distributors each operate in at least 28, and in some

 cases as many as 66, different locations throughout the country. Between them, the five largest

 distributors operate in 218 locations nationwide. In many areas, there are no alternative sources of

 the mechanical insulation products that they distribute. Nearly all manufacturers of mechanical

 insulation products sell through distributors and do not make sales directly to end users.

         18.     Each of these five distributors purchases calsil and other mechanical insulation

 products nationally, and together these five distributors account for approximately 85% of me-

 chanical insulation sales (and, specifically, 85% of calsil, fiberglass pipe insulation, and expanded

 perlite sales, as discussed below).



                                                    5
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 6 of 51




         19.    The five largest distributors are: Distribution International, Inc. (DI), headquartered

 in Houston, Texas and which purchases a range of mechanical insulation products in 66 locations

 in 29 states nationwide; Specialty Products & Insulation Co. (SPI), headquartered in Lancaster,

 Pennsylvania and which purchases a range of mechanical insulation products in 49 locations in 25

 states nationwide; General Insulation Company, Inc. (GI), headquartered in Medford, Massachu-

 setts and which purchases a range of mechanical insulation products in 46 locations in 23 states

 nationwide; MacArthur Co., headquartered in St. Paul, Minnesota and which purchases a range of

 mechanical insulation products in 29 locations in 12 states nationwide; and Bay Insulation Supply

 Inc. (Bay Insulation), headquartered in Green Bay, Wisconsin and which purchases a range of

 mechanical insulation products in 28 locations in 14 states nationwide.

         20.    These and other smaller distributors then resell those products to industrial custom-

 ers, sometimes referred to as “contractors,” or plant operators. But this downstream link in the

 chain of commerce is not at issue in this action. At issue are the sales from manufacturers to dis-

 tributors.

                                     RELEVANT FACTS
                                 Johns Manville’s Chinese Calsil
         21.    In 1987, a Chinese government agency, Shanghai Electric Power Co., Ltd. (Shang-

 hai Electric Power), built a calsil factory near Shanghai to provide mechanical insulation materials

 for a nearby coal-fired power plant and other domestic projects. This factory was originally named

 Shanghai Electric Power Machine Works (SEPMW).

         22.    In 2002, Johns Manville formed a joint venture with The Calsilite Group (Calsilite).

 This new American company was named Industrial Insulation Group, LLC (IIG). This joint ven-

 ture consolidated the three remaining United States calsil factories under the IIG umbrella.


                                                  6
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 7 of 51




        23.     In 2004, IIG formed a separate formal joint venture with Shanghai Electric Power.

 The Chinese calsil factory was then renamed IIG Thermal Insulation (Shanghai) Co., Ltd. but was

 simply known as “IIG Shanghai.”

        24.     IIG provided recurring orders. Shanghai Electric Power was responsible for the

 production of calsil that met all ASTM C533 Type I requirements and United States sizing norms.

        25.     In 2012, Johns Manville bought out Calsilite’s interests in the joint venture, and

 IIG became a wholly-owned subsidiary of Johns Manville. As of December 31, 2018, IIG merged

 into Johns Manville and no longer exists as a separate legal entity.

        26.     During this period, Johns Manville bought, imported and sold this Chinese calsil

 product in the United States under its own brand name, Thermo-12 Gold®.

        27.     In 2014, the ownership of the Chinese factory changed, and it was renamed BEC

 Industrial (Shanghai) Co., Ltd.

        28.     At some unknown point, Johns Manville stopped its purchases of calsil from the

 Chinese factory, and resumed manufacturing all its calsil requirements at the two remaining United

 States factories in Fruita, Colorado and Ruston, Louisiana.

        29.     At this point, Johns Manville was the sole supplier of calsil in the United States.

                Thermal Pipe Shields Tries to Enter the Single Supplier Market
        30.     In 2017, Thermal Pipe Shields was the largest United States purchaser from the

 Chinese factory, now known as BEC Industrial (Shanghai) Co., Ltd (BEC), for their OEM insu-

 lated pipe support products.

        31.     BEC then approached Thermal Pipe Shields and offered it the opportunity to be-

 come the exclusive United States importer for BEC calsil.



                                                  7
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 8 of 51




        32.     But, in mid-2017, Johns Manville itself was trying to convince Thermal Pipe

 Shields to buy its calsil from Johns Manville.

        33.     To this end, David Shong, the Johns Manville Industrial Insulation Group Western

 Regional Technical Manager at the time, convinced Thermal Pipe Shields to allow Johns Manville

 to test a random sample of BEC calsil in the hope that the tests would show that the Johns Manville

 product was superior.

        34.     Thermal Pipe Shields agreed on the condition that it receive a copy of the actual

 product testing reports.

                            Johns Manville’s Own Test of BEC Calsil
                         Shows that It Meets or Exceeds ASTM Standards
        35.     Mr. Shong obtained a random sample of BEC calsil and disclosed to Johns Manville

 his intention to release the test results to Thermal Pipe Shields as part of his marketing campaign.

 Johns Manville approved this plan.

        36.     Johns Manville tested the random sample of the BEC calsil at the Johns Manville

 Technical Center in Littleton, Colorado, in accordance with selected ASTM test methods for in-

 combustibility, friability, chemistry, and thermal conductivity which are contained within the

 ASTM C533 Type I material standard.

        37.     The test results showed that the sample provided by TPS met or exceeded all of the

 ASTM allowable thresholds.

        38.     Based on this successful test by Johns Manville and several other independent,

 third-party lab results, BEC and Thermal Pipe Shields signed an exclusive supply agreement in

 March 2018. Thermal Pipe Shields began to market their calsil product under the brand-named

 designation TPSX-12™.


                                                  8
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 9 of 51




         39.     Technically speaking, the calsil that BEC produces is TPSX-12™ filter pressed,

 water-resistant calcium silicate pipe and block insulation.

         40.     The calsil produced under this agreement is made at the exact same factory that had

 made the Johns Manville Thermo-12 Gold® product since 2004.

         41.     Furthermore, because of the continuity in the staffing of the plant, the management,

 engineering, and production staff responsible for the manufacture of the Thermo-12 Gold® prod-

 uct during the “IIG Shanghai” joint venture are largely the same management, engineering, and

 production staff responsible for the manufacture of the Thermal Pipe Shields product.

           American Laboratory Tests Confirm TPSX-12™ Meets ASTM Standards
         42.     As part of the marketing launch for TPSX-12™, TPS independently paid for both

 their product and the Johns Manville calsil to be tested side-by-side at a well-respected United

 States third-party laboratory.

         43.     The personnel of this independent laboratory have highly-regarded knowledge and

 experience not only in ASTM testing, but also extensive expertise on the chemistry and production

 processes of calsil.

         44.     The independent laboratory test results confirmed that TPSX-12™ meets or ex-

 ceeds all physical property requirements of ASTM C533 Type I, the industry-standard specifica-

 tion for calsil insulation.

         45.     The full battery of tests included the latest corrosion test method ASTM C1617.

 These independent results demonstrated that TPSX-12™ is equal in quality and performance to

 Johns Manville’s calsil.




                                                  9
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 10 of 51




        46.     And contrary to Johns Manville’s disparaging claims, as related below, TPSX-12™

 has never contained asbestos.

        47.     Furthermore, independent testing from several laboratories confirmed that several

 of the TPSX-12™ physical properties outperformed the Johns Manville product. First, TPSX-12™

 provides significantly higher compressive strength to resist crushing.

        48.     Second, TPSX-12™ provides much higher flexural strength to prevent breakage in

 transit and handling on the job site. Finally, these two properties combine to provide improved

 performance during the friability test with dramatically less weight loss by tumbling at 10 minutes.

 These enhanced physical properties are desirable because of the benefits they offer during transit,

 storage, installation, and on-site performance in industrial plants.

        49.     TPSX-12™ is the strongest available water-resistant Type I calsil insulation in the

 world. It robustly supports metal cladding, which acts as the primary weather barrier to keep the

 insulation dry, and prevents on-site system damage due to plant workers walking on the insulated

 pipes. This high-strength element provides long-service life, optimizes process control, and pre-

 vents bulk water ingress, which is a main cause of corrosion under insulation (CUI).

                               Johns Manville’s Legal Department
                                 Threatens Thermal Pipe Shields
                           and Proposes an Agreement Not to Compete
        50.     In early March 2018, Mr. Shong went to work for Thermal Pipe Shields as Vice-

 President of Industrial Business Development & Technical Services.

        51.     Johns Manville immediately tried to disrupt and destroy Thermal Pipe Shields’ po-

 tential entry into the market and its attempt to break the Johns Manville monopoly.

        52.     To begin with, Johns Manville threatened Mr. Shong.




                                                  10
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 11 of 51




        53.     Immediately after Mr. Shong’s hire, in early March 2018, Brian D. Zall, Johns

 Manville’s associate general counsel, wrote to Mr. Shong, delivering a long lecture on business

 ethics and claiming that Mr. Shong was not entitled to market to or sell to industrial buyers in the

 United States that were customers of Johns Manville’s IIG.

        54.     Mr. Zall took the position, presumably with the authority, approval, and backing of

 Johns Manville itself, (a) that unless Thermal Pipe Shields publicly listed the name of a customer

 on its website, then Thermal Pipe Shields (or Mr. Shong) was not allowed to market to or sell to

 that customer if it were also a Johns Manville customer; and (b) that therefore, engaging in com-

 petition with Johns Manville for these customers was a violation of Mr. Shong’s employment

 commitments to Johns Manville.

        55.     Specifically, Mr. Zall claimed that if Mr. Shong were to contact any “JM/IIG cus-

 tomers” who were not currently Thermal Pipe Shield customers and listed on the Thermal Pipe

 Shields website, then that would represent the illegal use of Johns Manville/IIG “confidential cus-

 tomer information.”

        56.     Mr. Zall proposed that Mr. Shong and Thermal Pipe Shields agree that Thermal

 Pipe Shields would not market to Johns Manville’s customers.

        57.     This proposal, offered by the Johns Manville associate general counsel, was essen-

 tially an invitation by one horizontal competitor to reach an agreement with another competitor

 not to compete for its own customers, an action that would be a per se violation of section 1 of the

 Sherman Act.

        58.     In fact, the names of major industrial distributors (as well as other customers) were

 and are a matter of public knowledge. Their names all appear in published industry directories



                                                 11
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 12 of 51




 such as NIA, WICA, SWICA, MICA, TIAA, and TIAC, among others. As a result, the identity of

 these distributors or customers could never in good faith be considered “proprietary” information

 belonging to Johns Manville.

        59.     Furthermore, both Mr. Shong’s and Thermal Pipe Shields’ knowledge of these cus-

 tomers were a matter of professional and personal contacts, and involvement in the industry built

 up over many years, and was not in any way “proprietary information” resulting from Mr. Shong’s

 employment at Johns Manville.

        60.     Mr. Shong fully intended to, and did, live up to every legal and moral responsibility

 under the Johns Manville employment agreement.

        61.     But absolutely nothing in any of Mr. Shong’s employment obligations with Johns

 Manville prevented him from working for a living in the industry in which he had worked for

 years, and using his general skill and knowledge to support his family.

        62.     Johns Manville’s corporate headquarters is located in Denver, Colorado.

        63.     Mr. Shong’s right to work in his own field is explicitly protected by Colorado law

 (as well as the public policy labor laws of many other states). For example, Colorado Statutes,

 Labor and Industry, C.R.S § 8-2-113, reads:

                Unlawful to intimidate worker—agreement not to compete

                It shall be unlawful to use force, threats, or other means of intimidation to
                prevent any person from engaging in any lawful occupation at any place he
                sees fit.

        64.     Johns Manville’s threats were knowingly and intentionally designed to intimidate

 Mr. Shong, as well as Thermal Pipe Shields, and essentially induce them to agree not to compete




                                                 12
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 13 of 51




 for any existing Johns Manville customers, ensuring that Johns Manville would maintain and per-

 petuate its monopoly in calsil.

        65.     Later in March 2018, Thermal Pipe Shields received a second letter from the Johns

 Manville legal department. This time, Cynthia L. Ryan, the Johns Manville general counsel, wrote,

 claiming that Mr. Shong had violated his obligation to maintain the confidentiality of proprietary

 technical analyses conducted by Johns Manville.

        66.     Specifically, Ms. Ryan claimed that “we have reason to believe that Mr. Shong may

 have improperly taken JM confidential and proprietary material and disclosed it to Thermal Pipe

 Shields.” This referred to the disclosure of the test results mentioned above.

        67.     Ms. Ryan claimed that Johns Manville was conducting a “forensic analysis” of Mr.

 Shong’s electronic devices, but that “one example” of Mr. Shong’s “apparent misappropriation”

 was the disclosure of the “ASTM C355 Pipe Thermal Conductivity: Delta T VS Ambient >200F”

 values, which, the general counsel claimed, Mr. Shong had sent to Thermal Pipe Shields “without

 proper authorization.”

        68.     Once again, the Johns Manville charges were without truth or substance. Despite

 the reference in the accusatory letter to “several examples” of disclosure “without proper authori-

 zation,” in fact, the ASTM C335 thermal data was the only “example” ever produced. And the

 answer to that false charge was that Mr. Shong had disclosed the test results of the BEC calsil

 product provided by Thermal Pipe Shields with the knowledge of Johns Manville, as part of his

 attempt, when he was employed at Johns Manville, to convince Thermal Pipe Shields that their

 Chinese product was inferior, and that Thermal Pipe Shields should buy Johns Manville calsil

 instead.



                                                 13
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 14 of 51




        69.      In short, the disclosure of the test results was made with Johns Manville’s

 knowledge, and as part of Mr. Shong’s good-faith attempt to generate sales for Johns Manville,

 not to divert sales from Johns Manville.

        70.      Had Johns Manville performed even a superficial review of its own records, it

 would and should have known this. Instead, it chose to make false, defamatory, and intimidating

 threats to Thermal Pipe Shields and Mr. Shong.

        71.      In the same letter from Ms. Ryan, she stated that “JM welcomes fair competition in

 the pipe insulation market.”

        72.      In response to Ms. Ryan’s letter, Thermal Pipe Shields counsel explained why

 Johns Manville’s charges were unsubstantiated.

        73.      Then, in response to Ms. Ryan’s “fair competition” claim, Thermal Pipe Shields

 counsel informed Johns Manville that Thermal Pipe Shields had heard in the marketplace that

 Johns Manville representatives had tried to unfairly influence, threaten and intimidate Thermal

 Pipe Shield’s potential customers using the following tactics:

              a. by making threats to tie the sales of other Johns Manville products to the Johns
              Manville calsil product;

              b. by making threats to refuse to supply its calsil to any customers who buy calsil from
              Thermal Pipe Shields;

              c. by making threats to adopt a pricing structure that would essentially make it eco-
              nomically unsound for any customers to buy from Thermal Pipe Shields;

              d. by impugning the quality of the Thermal Pipe Shields’ Chinese product without
              substantiation; and

              e. by making threats that suggest that the Chinese product could be blacklisted in
              commercial and regulatory specifications.




                                                  14
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 15 of 51




        74.     Thermal Pipe Shields’ counsel asked the Johns Manville’s general counsel to in-

 vestigate these charges and report back.

        75.     Ms. Ryan ignored that request and never answered.

        76.     In fact, Thermal Pipe Shields’ charges were true, as shown by the following exclu-

 sionary conduct undertaken by senior Johns Manville executives.

                 Johns Manville Ties Calsil to Its Other Products to Capture
              Customers Who Wish to Purchase Calsil from Thermal Pipe Shields
        77.     The tying of two separate products is unlawful when (1) two separate products are

 involved; (2) the sale or agreement to sell one product is conditioned on the purchase of the other;

 (3) the seller has sufficient economic power in the market for the tying product to be able to restrain

 trade in the market for the tied product; and (4) a not insubstantial amount of commerce in the

 market for the tied product is affected.

        78.     Calsil makes up less than 2% of Johns Manville’s total sales, but calsil distributors

 must carry the other industry-standard Johns Manville products because their customers require

 and demand those products.

        79.     Johns Manville supplies a range of industry-essential construction products besides

 calsil, some of which are widely recognized for their industry-leading quality, and which are es-

 sential to the inventory of construction supply distributors. As examples, Johns Manville is also a

 major supplier of fiberglass pipe insulation, fiberglass duct wrap, fiberglass HVAC board (to-

 gether, “fiberglass products”), PVC jacketing, ASJ jacketing, expanded perlite pipe and block,

 mineral wool pipe and board, calcium silicate fireproofing board, high temperature cements, mi-




                                                   15
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 16 of 51




 croporous thin blanket and aerogel sub-sea insulations. These products constitute most other dis-

 tinct types of mechanical insulations commonly specified and purchased throughout the United

 States.

           80.   Before Thermal Pipe Shields’ entry, Johns Manville was the only supplier of calsil,

 and every mechanical insulation distributor (large or small) that sells calsil also sells other Johns

 Manville products. And every mechanical insulation distributor (large or small) sold calsil bought

 it from Johns Manville.

           81.   All mechanical insulation distributors purchase and resell at least two different

 brands of every type of product that they distribute (although they may not stock multiple brands

 at each of their locations). The only exception is calsil; Johns Manville’s calsil is often the only

 brand that is stocked. Historically, this was because Johns Manville’s calsil was the only product

 on the market, but now it continues to be the case in great measure because of Johns Manville’s

 exclusionary conduct. (The one exception among the five largest distributors is Bay Insulation,

 which stocks both brands of calsil in two of its 28 locations, both in California.)

                                     Fiberglass Pipe Insulation

           82.   Further, because contractors want to buy most of their mechanical insulation needs

 (including calsil, fiberglass pipe insulation, and expanded perlite) from distributors in one single

 transaction in order to leverage incentive rebate programs as well as convenience, distributors must

 be able to provide the full range of products that their customers require. If a distributor is unable

 to supply even just one product that a customer requires, that distributor would lose sales of that

 and other products to the customer, who would buy its products in one transaction from a compet-

 ing distributor that is able to act as a “one-stop shop”



                                                   16
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 17 of 51




         83.      One such necessary product for every mechanical insulation distributor in the coun-

 try is fiberglass pipe insulation. The Johns Manville product is called Micro-Lok® and is generally

 recognized as the best fiberglass pipe insulation in the market.

         84.      Johns Manville’s fiberglass pipe insulation amounts to over $2 billion of sales per

 year, out of Johns Manville’s total sales of over $3 billion.

         85.      Johns Manville is one of only three manufacturers of fiberglass pipe insulation in

 the United States and it is believed to have at least a 60% share of the fiberglass pipe insulation

 market. Johns Manville has market power nationally for this product because, among other rea-

 sons, it is recognized as the best fiberglass pipe insulation product and they have more than half

 of the market share. Distributors large and small widely consider it an essential product. The other

 two manufacturers are Owens Corning and Knauf Insulation. The fiberglass pipe insulation market

 is national in that distributors from all over the country purchase their product from these three

 manufacturers.

         86.      All three manufacturers sell fiberglass pipe insulation to large, national distributors

 and smaller, independent distributors. Sales to the five largest national distributors account for

 approximately 85% of all fiberglass pipe insulation sold by the three manufacturers.

         87.      The remaining 15% of fiberglass pipe insulation sales are made to approximately

 ten or fewer smaller, independent distributors that tend to distribute only to smaller, independent

 distributors with one or more locations that focus on a concentrated regional market. Therefore,

 in many areas, there is no independent distributor and contractors’ only source of fiberglass pipe

 insulation is one of the five large, national distributors.




                                                    17
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 18 of 51




        88.     These five distributors purchase fiberglass pipe insulation throughout the United

 States in a total of 218 locations. Each of these five distributors purchases fiberglass pipe insulation

 in at least 28 different locations, and some purchase fiberglass pipe insulation in as many as 66

 locations.

        89.     The smaller, independent distributors purchase fiberglass pipe insulation for their

 respective regional markets, which are spread out across the United States.

        90.     Because fiberglass pipe insulation is so widely used in so many commercial appli-

 cations—it is used in every state in the United States—and is considered a “must-have” product,

 end-users’ demand for it exceeds the three suppliers’ capacity to produce it.

        91.     Consequently, distributors constantly struggle to procure adequate supply of fiber-

 glass pipe insulation to meet customers’ demand and distributors’ survival depends on manufac-

 turers’ ability and willingness to supply it to them. Losing supply and therefore being unable to

 meet contractors’ demand would be catastrophic to any distributor. Further, because of market-

 place dynamics and the important role of manufacturer-distributor relationships, it is not easy for

 distributors to commence purchases from a new manufacturer quickly or efficiently.

        92.     Neither is it easy or practical for a new manufacturer to enter the market due to the

 high costs associated with, and technical expertise required for, building a plant, manufacturing

 product, establishing relationships with customers, and shipping product.

        93.     Johns Manville has threatened to cut off sales or extend lead times of Micro-Lok®

 fiberglass pipe insulation to distributors (both large or small) that buy calsil from Thermal Pipe

 Shields.




                                                   18
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 19 of 51




        94.     Because, as stated previously, calsil represents less than 2% of Johns Manville’s

 annual sales, but fiberglass pipe insulation represents over 67%, Johns Manville’s threat makes no

 economic sense except as a means to monopolize the calsil market. It would be more logical to use

 calsil sales to boost fiberglass sales because the fiberglass market is more lucrative, but Johns

 Manville is doing the opposite—using fiberglass sales to boost calsil sales. If a distributor did not

 cave in to this demand, Johns Manville would have the power and stated incentive to withhold the

 relatively large volume (in dollar value) of fiberglass pipe insulation sales as a sanction for not

 purchasing the relatively small volume (in dollar value) of calsil.

        95.     To make such a threat, Johns Manville had to be confident that it had enough eco-

 nomic power in the fiberglass pipe insulation market that it could tie calsil sales to fiberglass pipe

 insulation sales without risk of any customer calling its bluff. Johns Manville, in fact, has signifi-

 cant economic and market power in the market for fiberglass pipe insulation. It has economic and

 market power because distributors must carry its product to offer to their customers because it is

 the leading product in the market and its customers demand it. It has economic and market power

 because there is insufficient supply to meet demand for fiberglass pipe insulation and Johns Man-

 ville is one of only three suppliers in this market. So if Johns Manville withholds its product from

 a distributor, that distributor will not be able to meet the volume needs of its customers as it is not

 able to obtain enough product (or be able to buy at all) from other manufacturers in sufficient time

 to satisfy demand from its customers. Finally, Johns Manville has a share of the fiberglass pipe

 insulation market which is believed to be not less than 60%, which is above the standard threshold

 for market power, even absent supply constraints and distributor needs to carry certain or multiple




                                                   19
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 20 of 51




 products in a market. So Johns Manville has market power in the market for fiberglass pipe insu-

 lation and has actually exercised that market power by tying distributor purchases of calsil from

 Johns Manville only to the purchase of its fiberglass pipe insulation.

                                         Expanded Perlite

        96.     Johns Manville is also one of only two suppliers of expanded perlite pipe and block

 insulation, sold under the brand name Sproule WR-1200®, which is used throughout the country,

 and in particular, in the Gulf Coast region and the Southeastern United States.

        97.     Johns Manville has a share of the perlite market which is believed to be not less

 than 50%, which is above the standard threshold for market power, even absent supply constraints

 and distributor needs to carry certain or multiple products in a market.

        98.     Expanded perlite is used throughout the entire country—in increasing quantities

 outside the Gulf Coast and Southeastern United States regions—for applications where conditions

 (such as humidity) or compatibility (in particular, with stainless steel piping) command its use.

        99.     Furthermore, many large corporations, including virtually every significant oil and

 gas company—such as Exxon Mobil, Marathon, and BP—and global engineering, procurement,

 and construction firms—such as CB&I, Fluor, and Jacob—operate centralized corporate engineer-

 ing offices in the Gulf Coast region. These corporations specify the use of expanded perlite there

 because of the local humidity, but also have incorporated its use into their corporate specifications

 such that expanded perlite is used uniformly in those corporations’ operations throughout the entire

 country and the world.

        100.    For certain applications—in particular, for use in humid or wet climates or in plants

 using large amounts of high-cost stainless steel piping—expanded perlite is a must-have product



                                                  20
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 21 of 51




 with no reasonable substitute due to its durable, water-shedding ability and chemistry that prevents

 external stress corrosion cracking on austenitic stainless steel. Even so, the size of the national

 calsil market exceeds the size of the national market for expanded perlite by a ratio of approxi-

 mately three to one.

        101.    Johns Manville is one of only two North American suppliers of expanded perlite

 pipe and block insulation produced in accordance with ASTM C612 specifications. The other is

 Howred Corporation, a United States company which operates a single manufacturing plant in

 Nuevo Laredo, Mexico.

        102.    Both suppliers of expanded perlite sell to the same national and smaller, independ-

 ent distributors that distribute calsil and fiberglass pipe insulation. As with calsil and fiberglass

 pipe insulation, the five largest distributors account for approximately 85% of expanded perlite

 sales, with the remaining 15% of sales being made to smaller, independent distributors.

        103.    Where the use of expanded perlite is most widespread, the distributors stock all

 three products (calsil, fiberglass pipe insulation, and expanded perlite). In other regions, distribu-

 tors may stock calsil and fiberglass pipe insulation, but will order any specified product as needed

 that is not stocked in inventory, such as expanded perlite, in order to meet a customer’s demand

 for a specific project. Thus, because expanded perlite market is used throughout the country, the

 geographic market for the purchase of perlite from distributors is national in scope. The expanded

 perlite market is national in that distributors from all over the country purchase their product from

 these two manufacturers.




                                                  21
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 22 of 51




         104.   As with fiberglass pipe insulation, the market for expanded perlite is capacity con-

 strained and distributors struggle to meet their customers’ demand with supply from both manu-

 facturers.

         105.   At least three different distributors have reported to Thermal Pipe Shields that they

 risk losing sales of expanded perlite to their customers if Johns Manville cuts off their supply.

 Specifically, Bay Insulation, one of the five largest national distributors, has told Thermal Pipe

 Shields that it cannot afford to lose Johns Manville’s expanded perlite because they need to be able

 to buy from both suppliers in order to satisfy customers’ demand. Bay Insulation told Thermal

 Pipe Shields that the market is so capacity constrained that neither supplier could supply the entire

 market demand on its own.

         106.   Loss of supply from either manufacturer would be devastating to any mechanical

 insulation distributor. Nearly every industrial plant in the United States uses multiple distinct types

 of mechanical insulation, including calsil, fiberglass pipe insulation, expanded perlite, and mineral

 wool. Engineers specify each product by application, service temperature, piping metallurgy,

 abuse conditions, life cycle cost, and other fit-for-service requirements. For these reasons, all

 distributors must have access to purchase all commonly specified materials from multiple suppli-

 ers.

         107.   Johns Manville has threatened to cut off sales of expanded perlite to any distributor

 that buys calsil from Thermal Pipe Shields

         108.   Such a threat has real consequences to distributors’ abilities to compete. As an il-

 lustration, in April 2019, Chad Meyer, Johns Manville Industrial Insulation Group Midwest Re-

 gional Sales Manager, did in fact refuse to sell both Johns Manville calsil and expanded perlite to



                                                   22
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 23 of 51




 distributor 4 State Supply’s Wichita, Kansas location after 4 State Supply purchased TPSX-12™.

 This punitive action by Johns Manville has destroyed 4 State Supply’s ability to compete in the

 Wichita market (where demand is high), because it must pay additional costs and take additional

 time to obtain the products from one of its other two locations.

        109.    4 State Supply’s Wichita location has previously accounted for most of that distrib-

 utor’s calsil sales and operates in a market with high demand for both calsil and expanded perlite.

        110.    Johns Manville has threatened multiple other distributors to cut off sales, extend

 lead times or alter rebate programs for other Johns Manville mechanical insulation product lines—

 in addition to fiberglass pipe insulation and expanded perlite—many other distinct types of me-

 chanical insulations commonly specified and purchased throughout the United States (such as min-

 eral wool pipe and board, calcium silicate fireproofing board, high temperature cements, mi-

 croporous thin blanket and aerogel sub-sea insulations) as a punitive measure to any distributor

 that buys calsil from Thermal Pipe Shields.

        111.    By threatening to withhold its other essential products unless customers also buy

 calsil exclusively from Johns Manville, Johns Manville can—and has sought to—maintain its mo-

 nopoly in the calsil market.

        112.    After Johns Manville’s threats to withhold essential products that its customers

 needed, as related below, Johns Manville continued to tie its sale of calsil to its sale of fiberglass

 pipe insulation and expanded perlite in a series of exclusionary actions designed to intimidate and

 threaten customers who wanted to benefit from the competition in calsil that Thermal Pipe Shields

 was trying to offer.




                                                  23
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 24 of 51




           113.   As an illustration of Johns Manville’s threats, Mark Hernandez, the El Paso, Texas

 Business Manager of the largest national distributor, DI, called his district manager, for “permis-

 sion” to seek a price quote for TPSX-12™. Mr. Hernandez was told that if he bought calsil from

 Thermal Pipe Shields, then DI would risk losing their ability to buy any products (including fiber-

 glass pipe insulation and expanded perlite) from Johns Manville, who had threatened it. Conse-

 quently, Mr. Hernandez was told he was not allowed to quote or sell TPSX-12™ because DI did

 not feel it was worth losing Johns Manville’s entire vast product line just to be able to save money

 on its calsil orders.

           114.   As a result of this threat, DI’s El Paso branch did not purchase any calsil from

 Thermal Pipe Shields. In fact, none of the 66 DI locations anywhere in the United States has

 agreed to stock TPSX-12™ calsil.

           115.   Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           116.   In mid-January 2019, Thermal Pipe Shields learned that Mr. Meyer and Eric Alley,

 Johns Manville Industrial Insulation Group’s Industrial and Canadian Sales Leader, told Kirk

 Chalmers, Operations Leader at APi Distribution (APi) in Minnesota, that if they continued to buy

 calsil from Thermal Pipe Shields, it would endanger their ability to purchase any Johns Manville

 products—including, most notably, fiberglass pipe insulation and expanded perlite, which they

 needed to serve their customers.




                                                  24
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 25 of 51




           117.    APi had purchased two containers of TPSX-12™ for their branches in Billings,

 Montana and Arden Hills, Minnesota but has not purchased any more calsil from Thermal Pipe

 Shields because of this threat from Johns Manville by Mr. Meyer and Mr. Alley.

           118.    Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           119.    On information and belief, Johns Manville regularly sells to customers who buy

 other mechanical insulation product types from competing manufacturers such as mineral wool,

 fiberglass pipe insulation, expanded perlite, fireproofing board, adhesives, thin blankets and PVC

 jacketing products. To Thermal Pipe Shields’ knowledge, Thermal Pipe Shields is the only sup-

 plier that Johns Manville has blackballed, with threats that customers will no longer be able to buy

 Johns Manville calsil, and that lead times or rebates for other products could be adversely harmed

 if they buy calsil from Thermal Pipe Shields.

                      Johns Manville Engages in Other Exclusionary Conduct
                            in Addition to Tying Calsil Sales to Sales of
                         Fiberglass Pipe Insulation and Expanded Perlite
           120.    A seller’s monopolization is unlawful when there is (1) monopoly power, and (2)

 the willful acquisition or maintenance of that power as distinguished from growth or development

 as a consequence of a superior product, business acumen, or historic accident.

           121.    The alternative to a superior product, business acumen, or historic accident is ex-

 clusionary conduct, which can take many forms including, among others, tying, refusal to supply

 a customer who purchases from a seller’s competitor, exclusive dealing, and other improper busi-

 ness practices.



                                                   25
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 26 of 51




         122.    Johns Manville has engaged in each of these forms of exclusionary conduct, which

 individually and taken together as a multi-pronged attack, were intended to, and did, prevent Ther-

 mal Pipe Shields from competing more successfully in the market for calsil.

                                 Johns Manville Refuses to Supply
                  Its Calsil to Customers Who Buy from Thermal Pipe Shields
         123.    In addition to tying its sale of calsil to sales of fiberglass pipe insulation and ex-

 panded perlite to extend its monopoly in the calsil market, Johns Manville also threatened to refuse

 to supply its calsil to distributors who purchase calsil from Thermal Pipe Shields.

         124.    While it is of course true that a supplier may in most instances choose which firms

 it does business with, it may not withhold supply for the purpose of acquiring or maintaining a

 monopoly. But Johns Manville did exactly that.

         125.    To be clear, Thermal Pipe Shields is not alleging that Johns Manville refused to

 deal with Thermal Pipe Shields, which could invoke the refusal to deal with a rival antitrust doc-

 trine. Instead, Thermal Pipe Shields, among other claims, is alleging that Johns Manville, who has

 monopoly power in the calsil market, is refusing to supply calsil to any distributors (large and

 small) that also purchase calsil from Thermal Pipe Shields. Johns Manville’s refusal to supply

 calsil to distributors is an effective threat that allows Johns Manville to maintain or extend its calsil

 monopoly because distributors must be able to offer calsil to their purchasers in order for the dis-

 tributor to effectively compete. So a rational distributor, faced with the threat of losing Johns Man-

 ville calsil if they purchase Thermal Pipe Shields calsil will decline to purchase Thermal Pipe

 Shields calsil as they have no choice but to carry the calsil that has 98 percent share in the market.

 Their customers demand it. These same distributors, however, would prefer to purchase and sell

 both calsil products as the competition would lower prices, improve quality, and allow them to


                                                    26
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 27 of 51




 offer more choice to their customers. So the direct result of Johns Manville’s threats are that dis-

 tributors will carry only Johns Manville calsil, which will allow Johns Manville to maintain or

 increase its monopoly share of 98 percent. Thermal Pipe Shields is, by these threats, effectively

 precluded from competing in the market for calsil.

           126.   As Mr. Meyer and Mr. Alley told Mr. Chalmers, “Johns Manville is not interested

 in supporting distributors who support our competition.”

           127.   For one example, in April 2018, Jack Bittner, Johns Manville Industrial Insulation

 Group’s Senior Industrial Product Manager, threatened Kyle Romney, Mountain States Regional

 Sales Manager with SPI (and former Johns Manville employee), warning him that “You don’t

 want to be the first to switch [to Thermal Pipe Shields calsil]. We [Johns Manville] have a plan.”

           128.   Responding to this threat, SPI, the second largest mechanical insulation distributor

 in the United States with 49 locations, did not purchase any calsil from Thermal Pipe Shields and

 was forced to acquire it only from the only remaining competitor in the market, Johns Manville.

           129.   Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           130.   In early January 2019, Johns Manville told several distributor customers that, if

 they bought calsil from Thermal Pipe Shields, Johns Manville would refuse to sell them the other

 essential Johns Manville products—such as fiberglass pipe insulation and expanded perlite—that

 the distributors needed to stay in business as well as, of course, Johns Manville’s calsil.

           131.   The first known time Johns Manville threatened to refuse to supply calsil to a dis-

 tributor that bought calsil from Thermal Pipe Shields, Johns Manville’s only competitor, occurred



                                                   27
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 28 of 51




 in late 2017 (before Thermal Pipe Shields publicly announced its agreement to exclusively import

 calsil from BEC), when Hal Shapiro, Johns Manville Industrial Insulation Group Senior Product

 Manager, told Mike Eggers, former Director of Strategic Sourcing Manager for DI (Johns Man-

 ville’s largest customer), who had shown interest in buying calsil from BEC after they met at the

 IEX tradeshow in Houston, Texas, that Johns Manville had received “approval from legal” to re-

 fuse to sell them any Johns Manville calsil product if they bought calsil from BEC or anyone else.

           132.   Mr. Shapiro even volunteered that the Johns Manville legal “justification” for this

 behavior was that, since Johns Manville’s monopoly would be broken, they no longer had to play

 by the rules surrounding their “very high market share paradigm.”

           133.   Because of this threat, DI did not purchase any calsil from Thermal Pipe Shields

 and was forced to acquire it only from the only remaining competitor in the market, Johns Man-

 ville.

           134.   Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effect of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           135.   Later, in September 2018, Mr. Meyer and Mr. Alley met with another customer,

 Mr. Chalmers of APi, in Arden Hills, Minnesota.

           136.   Mr. Meyer and Mr. Alley told Mr. Chalmers that “We know you have been buying

 from Thermal Pipe Shields because we track their import records,” and then directly threatened

 APi’s future ability to buy calsil from Johns Manville if it continued to buy Thermal Pipe Shields

 calsil.




                                                  28
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 29 of 51




           137.   Because of this threat, Mr. Chalmers did not buy any more calsil from Thermal

 Pipe Shields and was forced to acquire it only from the only remaining competitor in the market,

 Johns Manville.

           138.   Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           139.   Johns Manville continued its attempts to deter or threaten current and potential

 Thermal Pipe Shields customers. In October 2018, Mr. Meyer approached Joe Guest, a branch

 manager of distributor 4 State Supply in Omaha, Nebraska at the Midwest Insulation Contractor

 Association trade show, and made threats that Johns Manville might stop selling to them unless

 the customer stopped buying Thermal Pipe Shields calsil.

           140.   Mr. Meyer also warned Mr. Guest that Johns Manville was “monitoring” import

 records and knew what Thermal Pipe Shields was doing.

           141.   Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           142.   In January 2019, Mr. Alley informed both Mark Duppler, Vice President (retired

 as of July 2019), and Russ Huff, Western Region Manager, of Bay Insulation that, if Bay Insulation

 continued to stock Thermal Pipe Shields calsil in the two California locations where it had already

 done so, Johns Manville would not only stop selling them calsil in those specific locations but

 would also refuse to sell them calsil at any of their locations anywhere in the country.




                                                 29
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 30 of 51




           143.   Contrary to Johns Manville’s false claim, this threat does not “open up the market

 to Thermal Pipe Shields to sell more,” because distributors want alternative sources of supply and,

 more importantly, will not rely exclusively on a new market entrant. As a result, Johns Manville’s

 threats to cut off customers do not “open up” any markets to Thermal Pipe Shields, but rather

 foreclose them completely.

           144.   Mr. Huff told Mr. Shong that this threat put Bay Insulation’s calsil business at great

 risk and that the only reason Bay Insulation buys calsil from Johns Mansville is because there was

 no other choice in the market, given the supply that he needs to obtain. Bay Insulation’s Houston,

 Texas branch buys more calsil and perlite than all of their nationwide locations combined, and it

 cannot risk losing Johns Manville calsil or perlite in the strongest industrial market in the country.

           145.   Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           146.   In mid-January 2019, Johns Manville senior executives met with top executives of

 the second largest distributor, SPI, in Florida and made similar threats. The Johns Manville exec-

 utives included:

                  a.     Mr. Alley: Industrial and Canadian Sales Leader (who replaced Hal
                         Shapiro);

                  b.     David Benjamin: Johns Manville Performance Materials—National
                         Accounts Manager;

                  c.     Jeff Semkowski: Johns Manville Portfolio Leader—Industrial Insu-
                         lation; and

                  d.     Dave Skelly: Johns Manville General Manager Performance Mate-
                         rials.




                                                   30
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 31 of 51




        147.    During this meeting, these Johns Manville senior executives warned SPI execu-

 tives, including Supply Chain Leader Brian Blazek, that:

                a.     Johns Manville would stop selling calsil to the customer in markets
                       where they purchased TPSX-12™;

                b.     Johns Manville would punish the customer by changing their rebates
                       if it purchased TPSX-12™ (the Thermal Pipe Shields calsil prod-
                       uct);

                c.     Johns Manville would punish the customer by creating longer lead
                       times for all JM products if it purchased TPSX-12™;

                d.     And, if the customer remained loyal to Johns Manville, then Johns
                       Manville would provide price concessions in markets that compete
                       against TPSX-12™.

        148.    Following and because of these threats, SPI, the second largest mechanical insula-

 tion distributor in the country, did not purchase any calsil from Thermal Pipe Shields and was

 forced to acquire it exclusively from the only remaining competitor in the market, Johns Manville.

        149.    Specifically, Mr. Blazek subsequently contacted Mr. Shong by phone and told him

 that SPI’s corporate office would not allow any of SPI’s 49 branches to purchase TPSX-12™. Mr.

 Blazek also told Mr. Shong that he should stop attempting to contact any locations to market

 TPSX-12™. When Mr. Shong asked him if SPI would continue to purchase Thermal Pipe Shields’

 pipe support products that are cut from the same TPSX-12™ calsil, Mr. Blazek said that SPI would

 absolutely continue buying pipe supports and that Thermal Pipe Shields could continue to market

 those commercial products, but for the foreseeable future no SPI branch in North America was

 authorized to purchase TPSX-12™. SPI’s willingness to purchase the commercial products fab-

 ricated from the same calsil as TPSX-12™ calsil, but not three-foot-long TPSX-12™ itself, indi-

 cates that SPI’s corporate office that issued that mandate did not do so because of concern about




                                                31
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 32 of 51




 the quality, service, or pricing of Thermal Pipe Shields’ calsil, but rather only because it was com-

 pelled to submit to Johns Manville’s threats.

           150.    Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

           151.    In February 2019, Carl Prichard, Regional Industrial Sales Manager from GI told

 Jesse Revesz, Thermal Pipe Shields’ Commercial Sales representative, that Johns Manville made

 explicit threats to keep Thermal Pipe Shields calsil out of the market. Mr. Prichard told Mr. Revesz

 that Johns Manville threatened GI’s corporate executives that if any GI location purchased TPSX-

 12™, that location and possible other GI locations as well, will be cut off from Johns Manville’s

 line of calsil.

           152.    As a result of Johns Manville’s threats, not one of GI’s 46 locations has since agreed

 to evaluate, quote, or buy TPSX-12™ and Thermal Pipe Shields has not even been able to secure

 a meeting with any GI executive despite numerous attempts since March 2018.

           153.    Consequently, Johns Manville effectively restrained competition from Thermal

 Pipe Shields with the effects of limiting consumer choice of suppliers, raising prices, and reducing

 output.

  By Causing Customers Not to Purchase Calsil from Thermal Pipe Shields, Johns Manville
             Forced Customers into De Facto Exclusive Dealing Arrangements
           154.    Because Thermal Pipe Shields is the only supplier of calsil besides Johns Manville,

 conduct that prevents customers from purchasing calsil from Thermal Pipe Shields forces those

 customers into purchasing calsil exclusively from Johns Manville. This is true for all purchasers

 of calsil, regardless of size or location.


                                                    32
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 33 of 51




        155.       As stated previously, calsil represents approximately 2% of Johns Manville’s $3

 billion total sales and that $50 million in sales accounts for 98% of the total market. But because,

 as stated previously, TPSX-12™ is of at least equal, if not superior, quality to Johns Manville’s

 calsil, yet priced lower, in a competitive market including these two suppliers, Thermal Pipe

 Shields could be expected to have a sizable share of the market.

        156.       Apart from Johns Manville’s exclusionary conduct, there are no reasons that Ther-

 mal Pipe Shields should not be able to compete effectively in the manufacture and sale of calsil

 due to its exclusive supply agreement with BEC and the vast domestic inventories of calsil it has

 available in stock around the country ready for immediate shipment. If allowed to compete, Ther-

 mal Pipe Shields would sell calsil to the same distributors who purchase calsil from Johns Man-

 ville, who would then sell that calsil to contractors in the same volume and manner that they resell

 Johns Manville’s calsil.

        157.       Further, because the use of calsil is so prevalent and demand for it is high, Thermal

 Pipe Shields’s unhindered entry into the market could be expected to grow that market, increasing

 output overall.

        158.       Yet Johns Manville’s threats and other exclusionary conduct, combined with its

 98% market share of the United States calsil market, have foreclosed Thermal Pipe Shields and

 any other potential competitor from being able to sell calsil to otherwise willing customers

 throughout the country. Indeed, 216 of the five largest distributors’ combined 218 locations na-

 tionwide do not purchase calsil from Thermal Pipe Shields, but all of them would be willing to

 evaluate it on the merits in a competitive market because TPSX-12™ is of at least equal, if not

 superior, quality to Johns Manville’s calsil, yet is priced lower.



                                                    33
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 34 of 51




         159.   Johns Manville has engaged in the same conduct with respect to the smaller, inde-

 pendent distributors who account for the remaining 15% of calsil purchases in the United States

 and has likewise foreclosed Thermal Pipe Shields from competing for calsil sales to those distrib-

 utors. Two examples of smaller distributors who have faced Johns Manville’s threats are 4 State

 Supply and APi, as alleged in this First Amended Complaint. Prior to discovery, Thermal Pipe

 Shields would not know of other threats that have not been brought to its attention.

         160.   From a dollar and volume standpoint, Johns Manville has foreclosed 100% percent

 of the market for calsil, having targeted both large, national distributors and smaller, independent

 ones. It could be expected that a two-supplier market for these customers’ purchases would be

 split evenly among those suppliers, without accounting for the superior quality and lower cost of

 Thermal Pipe Shields’ product, which likely means that Thermal Pipe Shields would have a greater

 than 50% market share over time in an unrestrained market.

         161.   Thermal Pipe Shields sells calsil exclusively to distributors, and Johns Manville is

 decreasing the small amount of sales it makes to customers that are not distributors. Direct sales

 to end users are not a practical alternative channel to compensate for Johns Manville’s market

 control of the industry’s distributors. Selling calsil directly to customers entails significant risk,

 including extended payment cycles, cash flow issues, problems with material availability, and

 jeopardizing relationships with distributors who would compete for sales to those same customers,

 but are necessary to distribute a manufacturer’s products to other customers. It is not a practical

 alternative for Thermal Pipe Shields or others similarly situated in the mechanical insulation mar-

 kets.




                                                  34
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 35 of 51




        162.    There is no legitimate business justification for Johns Manville’s forcing distribu-

 tors into de facto exclusive dealing arrangements other than excluding all competition from the

 calsil market. Indeed, the denial to Thermal Pipe Shields of access to distributors—without which

 it cannot make sufficient sales to survive—eliminates the only company that currently even at-

 tempts to compete against Johns Manville’s 98% market share. Johns Manville’s actions were

 intended to perpetuate its monopoly and destroy potential or emerging competition.

                  Johns Manville Disparages Thermal Pipe Shields’ Product
                      and Falsely Claims It Never Sold Chinese Calsil
        163.    In the September 2018 meeting described above with Mr. Chalmers, Mr. Meyer

 also disparaged the Thermal Pipe Shields product, claiming, without any substantiation, that it was

 poor quality and cannot be trusted to meet the “specifications.”

        164.    Similarly, in Spring 2018, Evan Stone, Johns Manville’s former Western Regional

 Sales Manager, along with Jim Bittner, a Manager at GI (and Jack Bittner’s brother), made calls

 on two Wyoming contractors. These incidents were reported to Thermal Pipe Shields by Mike

 Erhart, APi’s Rapid City, South Dakota branch manager, after he made sales calls on the two

 contractors to introduce TPSX-12™ for what he thought was the first time. Both contractors con-

 firmed to Mr. Erhart that Mr. Stone and Mr. Bittner had already visited and stated that the Thermal

 Pipe Shields calsil “may have asbestos and may put your customers and employees at risk.” These

 statements were and are false.

        165.    Because of these statements, the contractors did not order calsil from Thermal Pipe

 Shields.

        166.    Furthermore, those statements were somewhat ironic considering that Johns Man-

 ville was once a leading producer of asbestos products that caused mesothelioma and asbestos-


                                                 35
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 36 of 51




 related diseases, not only to workers but also to their families as a result of secondhand exposure.

 In 1982, Johns Manville declared bankruptcy to escape its asbestos liabilities. A trust was estab-

 lished in 1988 to pay claims directly to asbestos victims and their families that is currently valued

 at $2.5 billion.

           167.     In 1988, David T. Austern, then general counsel of the Manville Personal Injury

 Settlement Trust, wrote to the Trustees concerning a series of Manville corporate documents:

                    The documents noted above, however, show corporate knowledge of the
                    dangers associated with exposure to asbestos dating back to 1934. In addi-
                    tion, the plaintiffs’ bar will probably take the position-not unreasonably-
                    that the documents are evidence of a corporate conspiracy to prevent asbes-
                    tos workers from learning that their exposure to asbestos could kill them.

           168.     Following false claims about asbestos made by Johns Manville, Thermal Pipe

 Shields immediately paid a United States laboratory to test for both crystalline silica and asbestos.

 The independent results showed below detectable limits for crystalline silica and negative for as-

 bestos.

           169.     Johns Manville, however, has a high degree of credibility in the industry and dis-

 tributors have no reason to believe that what it claims is not true.

           170.     Neither distributors nor contractors have the level of knowledge or sophistication

 to be able to judge accurately for themselves whether these claims are true or not.

           171.     Potential liability from possible asbestos exposure is so great that no reasonable

 customer would buy a product where there was any question about the presence of asbestos, no

 matter how much the seller assures them that the product does not contain asbestos.




                                                    36
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 37 of 51




        172.    Furthermore, as stated above, the factory that supplies Thermal Pipe Shields has

 never used any asbestos from the time it was built in 1987, including the time period in which the

 Johns Manville calsil was produced at the factory known as “IIG Shanghai.”

        173.    Finally, Mr. Meyer continued to disparage Thermal Pipe Shields calsil to other cus-

 tomers, telling Mr. Guest of 4 State Supply at the Midwest Insulation Contractor Association trade

 show in October 2018 that TPSX-12™ was “Chinese,” and asking why the customer would want

 to “risk buying an unproven product that may not meet the specifications.” While it is true that the

 product is from China, Johns Manville’s statements were meant to and did imply that because it is

 from China it may not meet specifications, or may have other defects, like—for example—asbes-

 tos. Indeed, to effectively perpetuate the false claims about the quality of Thermal Pipe Shield’s

 product by both calling it “Chinese,” and implying that Chinese products are flawed, Johns Man-

 ville went so far as to falsely deny that it ever sold product from China.

        174.    Johns Manville disparaged TPSX-12™ to other individual customers at other times,

 but Thermal Pipe Shields would have no way to know of every such instance, especially before

 discovery, and so is unable to respond to or otherwise neutralize all such disparagement. Johns

 Manville also knew that like many industry communities, “word gets around,” and making false

 statements to some distributors and end-users that Thermal Pipe Shield’s calsil contains asbestos

 or is defective is an explosive enough claim that the vast majority of potential purchasers of

 calsil—both distribution and contractor—would hear of and believe these false claims.

        175.    Even if Thermal Pipe Shields knew of each disparaging comment made about

 TPSX-12™ and had the opportunity to correct it, the effect of such comments, once made, cannot

 effectively be undone. For example, during a group webinar in March 2018 with more than twelve



                                                  37
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 38 of 51




 decisionmakers at SPI, Kent Revard, Gulf Coast Industrial Sales representative with SPI, stated

 that he believed “Chinese” calsil could contain asbestos and SPI should not risk buying calsil from

 Thermal Pipe Shields. These concerns no doubt originated from Johns Manville false statements

 and it has been corroborated by other large Gulf Coast contractors that these statements were

 widely disseminated by Johns Manville salespeople. In a follow-up email exchange with Kyle

 Romney of SPI in Denver and other webinar attendees dated March 15, 2018, Mr. Shong provided

 the third-party test data proving the absence of asbestos in a failed attempt to dispel that false

 notion. Such rumors, once started, are not easy to dispel and it could take many years to do so.

 But Thermal Pipe Shields could not stay in business for many years if its potential sales are evis-

 cerated by false claims that it is selling asbestos-laden products, and Johns Manville knows that

 perfectly well. And SPI has not purchased TPSX-12™.

        176.    In addition to individual comments made to individual customers, Johns Manville

 published a “Frequently Asked Questions” page on its website containing false statements about

 TPSX-12™ (although it did not identify the product by name). That document says:

                Does anyone else manufacture water resistant calcium silicate?

                Johns Manville Industrial Insulation Group is the only insulation manufac-
                turer in North America to produce water resistant calcium silicate. While
                we are aware of one other manufacturer in Asia that produces water resistant
                calcium silicate, it is an expensive, custom-order product that is not readily
                available.

        177.    Contrary to the explicit claims of this widely available marketing document cur-

 rently posted on Johns Manville’s website, TPSX-12™ is in fact less expensive that Johns Man-

 ville’s calsil, water resistant in its standard formulation, and in stock and ready to ship. Johns

 Manville could only have been referring to TPSX-12™ on its website because it is the only other



                                                 38
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 39 of 51




 calsil on the market. These claims are literally false and important and material facts in the deci-

 sion-making for contractors that could demand TPSX-12™ from their distributors that could sup-

 ply the product.

        178.       Further, as part of his attempt to disparage Thermal Pipe Shields products, Mr.

 Meyer also falsely represented to Mr. Guest that Johns Manville had never sold calsil produced in

 China, stating:

                   JM/IIG has never bought calsil from any Chinese factory and if Mr. Shong
                   continues to make that false claim in the market, he will be hearing from
                   the JM Legal Department!

        179.       In fact, as related above, Johns Manville continued to buy and resell the Chinese

 calsil known as Thermo-12 Gold® until at least 2014. The following pictures taken at 4 State

 Supply’s warehouse in Omaha, Nebraska show a Johns Manville branded box of Thermo-12

 Gold®, with the designation of origin as “Made in China.” The photographs were taken by Joe

 Guest in October 2018.




                                                  39
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 40 of 51




                  Johns Manville Visits the Chinese Factory It Disparaged,
          and Tries to Induce BEC to Breach Its Contract with Thermal Pipe Shields

        180.    Furthermore, even while Johns Manville was denying that it had ever bought Chi-

 nese calsil, and even while it was disparaging the BEC product as “Chinese,” claiming it was

 “substandard,” claiming it possibly was “unable to meet specifications,” and claiming it possibly

 “ha[s] asbestos,” Johns Manville tried to open discussions with BEC to explore the possibility of

 a buying relationship. Had it succeeded, this would have violated Thermal Pipe Shields’ contrac-

 tual rights of exclusivity with BEC to distribute its products in the United States calsil market.

        181.    To this end, in July 2018, three Johns Manville executives, including Mr. (Jack)

 Bittner, travelled to China and, on July 30, 2018, met with the owner and staff of BEC.




                                                  40
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 41 of 51




          182.   In this picture, taken July 30, 2018, Mr. Bittner, Mr. Semkowski, and Robert Price,

 Johns Manville International Supply Chain Leader, is standing on the left, surrounding the owner

 and next to the engineering and production staff of the BEC factory that it claims produced sub-

 standard and unproven Chinese products; that it claims might be unable to meet United States

 specifications; and that it claims possibly have contained asbestos. The marketing poster hanging

 on the right side of the wall, with a man standing on calsil pipe insulation, was in fact, modeled by

 Mr. Bittner himself.




          183.   During Mr. Bittner’s discussions with BEC, he specifically raised the possibility of

 Johns Manville restarting a buying relationship with BEC. This offer was conditional upon BEC

 providing samples for Johns Manville to test that would meet/exceed ASTM C533 Type I require-

 ments.




                                                  41
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 42 of 51




        184.     If Johns Manville had succeeded in obtaining any agreement for calsil from the

 BEC factory, it would inevitably have caused a breach of BEC’s exclusive agreement with Ther-

 mal Pipe Shields, an agreement that Johns Manville knew existed.

                                  INJURY TO COMPETITION

        185.     In early March 2018, Thermal Pipe Shields began to market TPSX-12™. But in the

 last year, it has sold less than $1 million of this product because of Johns Manville’s threats and

 intimidation of potential customers. But for Johns Manville’s threats, intimidation, and other anti-

 competitive conduct, Thermal Pipe Shields would have sold substantially more than $1 million of

 this product.

        186.     Thermal Pipe Shields TPSX-12™ is priced below the Johns Manville product, fully

 complies with all relevant ASTM standards, and is at least as good, if not better than, the Johns

 Manville product. But for Johns Manville’s threats, intimidation, and other anticompetitive con-

 duct, customers that purchased from either or both Thermal Pipe Shields and/or Johns Manville

 would have paid less for their calsil because of additional competition, as well as Thermal Pipe

 Shields’ lower prices.

        187.     Johns Manville’s actions hurt competition, not merely a competitor. Thermal Pipe

 Shields is the only company that currently even attempts to compete against Johns Manville’s 98%

 market share. Johns Manville’s actions were intended to perpetuate its monopoly and destroy po-

 tential or emerging competition in the United States calsil market. But for Johns Manville’s threats,

 intimidation, and other anticompetitive conduct, calsil consumers would have a legitimate choice

 of suppliers.




                                                  42
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 43 of 51




         188.   Johns Manville’s threats, intimidation, and other anticompetitive conduct caused

 customers to purchase substantially less calsil from Thermal Pipe Shields than they would have

 without these actions, which had the effect of keeping Thermal Pipe Shields from achieving suffi-

 cient economies of scale to further reduce its prices and/or improve its product and service relating

 to calsil.

         189.   By using these illegal actions to maintain its monopoly, Johns Manville deprived

 customers of a competitive choice and also customers of the benefits of a lower-priced alternative

 for the same quality product. If Johns Manville is permitted to continue these threats, intimidation,

 and anticompetitive conduct, Thermal Pipe Shields will be completely excluded from the calsil

 market, a result that would—once again—leave Johns Manville as the only company serving this

 market. On information and belief, this is Johns Manville’s plan, which they have begun imple-

 menting, and will continue to do so unless this Court stops them.

                                          FIRST CLAIM
                                             TYING

         190.   Thermal Pipe Shields realleges all previous paragraphs.

         191.   Calsil, fiberglass pipe insulation, and expanded perlite are three separate products

 and customers want the freedom to buy those separate products from different manufacturers.

         192.   As related above, Johns Manville repeatedly threatened to refuse to sell fiberglass

 pipe insulation that customers wanted to buy if they bought calsil from Thermal Pipe Shields in-

 stead of from Johns Manville.

         193.   Johns Manville has economic power in the national market for fiberglass pipe in-

 sulation (the first tying product), and it consistently used that power to coerce customers to buy




                                                  43
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 44 of 51




 Johns Manville calsil (the tied product), even though customers wanted to buy TPSX-12™ from

 Thermal Pipe Shields instead.

        194.    By tying sales of calsil to sales of fiberglass pipe insulation, Johns Manville re-

 strained competition from Thermal Pipe Shields in the national market for calsil, affecting a not

 insubstantial amount of interstate commerce.

        195.    As related above, Johns Manville repeatedly threatened to refuse to sell expanded

 perlite pipe that customers wanted to buy if they bought calsil from Thermal Pipe Shields instead

 of from Johns Manville. And Johns Manville did in fact refuse to sell expanded perlite to at least

 one existing customer after that customer purchased TPSX-12™, which demonstrated to other

 distributors that Johns Manville will enforce its threats.

        196.    Johns Manville has economic power in the national market for expanded perlite

 (the second tying product), and it consistently used that power to coerce national customers that

 have their highest volume locations in Houston, in addition to many other locations all around the

 country, to buy Johns Manville calsil only (the tied product), even though customers wanted to

 buy TPSX-12™ from Thermal Pipe Shields.

        197.    By tying sales of calsil to sales of expanded perlite, Johns Manville restrained com-

 petition from Thermal Pipe Shields in the national market for calsil, affecting a not insubstantial

 amount of interstate commerce.

        198.    By each of these two separate acts of tying, Johns Manville appreciably restrained

 free competition in the market for calsil and a not-insubstantial amount of commerce in the tied

 market is restrained.

        199.    Johns Manville thus violated Sections 1 and 2 of the Sherman Act.



                                                  44
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 45 of 51




        200.    As a result of the foregoing, Thermal Pipe Shields has been damaged in an amount

 to be determined at trial, but which is expected to be no less than $20 million.

                                        SECOND CLAIM
                                       MONOPOLIZATION

        201.    Thermal Pipe Shields realleges all previous paragraphs.

        202.    Johns Manville has a market share in calsil of at least 98% and has no existing

 United States competitor other than Thermal Pipe Shields. As a result, Johns Manville possesses

 monopoly power in the national calsil market.

        203.    The barriers to entry are high because any factory capable of making calsil requires

 major capital investment, but the market size for calsil has declined over time. As a result, the cost

 of a new factory is effectively prohibitive and the return on such an investment is unreasonably

 long, and there is no potential entrant for this market.

        204.    Johns Manville has maintained its monopoly by a host of exclusionary tactics, in-

 cluding, among others, tying (as alleged above), refusals to supply customers who purchase from

 Thermal Pipe Shields, exclusive dealing, and product disparagement, all with the purpose of be-

 coming the sole supplier in the market and preventing Thermal Pipe Shields from entering the

 calsil market, providing competition where none existed.

        205.    In addition, Johns Manville’s legal department threatened Thermal Pipe Shields

 with phony charges of “misappropriation,” which they knew were not true, and tried to get Thermal

 Pipe Shields to agree not to compete for any Johns Manville customers who were not listed on

 Thermal Pipe Shields’ own website.




                                                  45
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 46 of 51




         206.    Johns Manville also traveled to China and attempted to interfere with Thermal Pipe

 Shield’s exclusive import contract with BEC, who manufacturers the only product that can com-

 pete with Johns Manville’s calsil.

         207.    These exclusionary actions demonstrate a willful intent to maintain Johns Man-

 ville’s monopoly other than by consequence of a superior product, business acumen, or historic

 accident.

         208.    Johns Manville’s anticompetitive conduct and monopolization affected interstate

 commerce because calsil is routinely bought and sold and transported across state lines. In addi-

 tion, Johns Manville’s executives travelled from city to city across state lines to intimidate and

 threaten customers in person to not purchase calsil from Thermal Pipe Shields.

         209.    Furthermore, these exclusionary actions are not the result of any unauthorized

 “rogue” action, but were, instead, developed, engineered and methodically and consistently carried

 out by senior executives of Johns Manville.

         210.    There are no legitimate or procompetitive business reasons for these acts other than

 to eliminate the only company that currently even attempts to compete against Johns Manville’s

 98% market share.

         211.    Indeed, Johns Manville’s actions were intended to perpetuate its monopoly and de-

 stroy any potential or emerging competition in the calsil market.

         212.    Johns Manville’s acts of monopolization have injured Thermal Pipe Shields in its

 business and property, by intimidating or threatening customers and thereby severely restricting

 or destroying the potential sales that Thermal Pipe Shields could have made to otherwise willing

 distributors.



                                                  46
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 47 of 51




         213.    Johns Manville’s acts of monopolization also harmed competition, as Thermal Pipe

 Shields offers the only competition and alternative source of supply of calsil for customers.

         214.    Furthermore, Johns Manville has a 98% share of the calsil market; its actions were

 specifically designed to exclude the only potential competitor and ensure that competition in the

 calsil market would be injured or destroyed.

         215.    Johns Manville’s actions had their intended effect, and Thermal Pipe Shields was

 substantially foreclosed from competing in the calsil market.

         216.    Johns Manville has thus violated Section 2 of the Sherman Act.

         217.    As a result of the foregoing, Thermal Pipe Shields has been damaged in an amount

 to be determined at trial, but which is expected to be no less than $20 million.

                                        THIRD CLAIM
                                   LANHAM ACT VIOLATIONS

         218.    Thermal Pipe Shields realleges all previous paragraphs.

         219.    Johns Manville has repeatedly, consistently, and falsely disparaged the quality of

 Thermal Pipe Shields calsil to customers, including multiple distributors that control a substantial

 part of the calsil market, falsely claiming that it is defective, that it is an “unknown” factor, that it

 fails to meet “specifications,” that it may not be acceptable to contractors, and that it may “contain

 asbestos.”

         220.    Johns Manville has also falsely disparaged Thermal Pipe Shields product as sub-

 standard because they are “Chinese,” which it suggested meant that the product is defective or

 dangerous, whereas in fact, Johns Manville itself tested Thermal Pipe Shields’ calsil and deter-

 mined that it is not sub-standard. Johns Manville also falsely claimed that it had never sold “Chi-

 nese” product, when in fact, it had.


                                                    47
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 48 of 51




           221.   Johns Manville itself bought calsil from the identical Chinese factory and sold it in

 the United States under its brand name Thermo-12 Gold®.

           222.   Johns Manville’s statements were literally false and misleading and either deceived

 consumers, or at least had the capacity to deceive them.

           223.   Johns Manville’s false and misleading statements were widely disseminated to the

 customer base for calsil because they were made to multiple distributors in a market where five

 distributors control 85 percent of the market. Such dissemination, even in a less concentrated mar-

 ket, would be substantial, probably greater than a television commercial. In addition, Thermal Pipe

 Shields is aware of multiple contractors to whom Johns Manville made these false and misleading

 statements, because those contractors raised the issue with their distributors. It is a reasonable

 inference that Johns Manville made these false and misleading statements to other distributors and

 contractors, but that Thermal Pipe Shields, the victim of the statements, did not have them reported

 to them. In any event, even without that inference, Johns Manville was certainly aware when it

 made the false and misleading statements, particularly relating to asbestos, that they would ulti-

 mately be heard by a substantial percentage of the prospective purchasers of calsil.

           224.   Some of Johns Manville’s false and misleading statements were widely dissemi-

 nated through Johns Manville’s website.

           225.   Johns Manville’s deception had a material effect on the consumers’ purchasing de-

 cision.

           226.   The misrepresentation affects interstate commerce.

           227.   Thermal Pipe Shields has been, and likely will be, injured as a result of the false or

 misleading statements.



                                                   48
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 49 of 51




        228.    Due to Johns Manville’s false statements, Thermal Pipe Shields has suffered, and

 will suffer, ongoing injury to its commercial interest, both in loss of sales and damage to its busi-

 ness reputation, all proximately caused by Johns Manville’s misrepresentations, in violation of the

 Lanham Act.

        229.    Johns Manville has thus violated Section 43(a) of the Lanham Act.

        230.    As a result of the foregoing, Thermal Pipe Shields has been damaged in an amount

 to be determined at trial, but which is expected to be no less than $20 million.

 FOR THE FOREGOING REASONS PLAINTIFF REQUESTS FOR JUDGMENT AS
 FOLLOWS:
        (a)     An injunction barring Johns Manville from engaging in any anti-competitive or

                defamatory behavior, or false statements, including, but not limited to:

                 i.     tying;

                 ii.    refusing to supply customers who buy, or wish to buy, products from Ther-

                        mal Pipe Shields;

                 iii.   forcing customers to deal exclusively with Johns Manville for the sole pur-

                        pose of foreclosing competition from Thermal Pipe Shields;

                 iv.    falsely disparaging any product manufactured by Thermal Pipe Shields;

        (b)     Actual damages in an amount to be determined at trial but believed to be not less

                than $20 million;

        (c)     Trebling of the actual damages;

        (d)     Reasonable attorneys’ fees;

        (e)     Together with the costs and expenses of this action; and




                                                  49
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 50 of 51




        (f)     Thermal Pipe Shields reserves all rights to amend this First Amended

                Complaint to include any additional claims that arise as more facts are dis-

                covered, including but not limited to claims for trade libel or disparage-

                ment and tortious interference with business relationships.

        Plaintiff requests a trial by jury.

  DATED: July 24, 2019                             KLENDA GESSER & BLUE LLC

                                                   s/Geoffrey N. Blue
                                                   Geoffrey N. Blue
                                                   1624 Market Street, Suite 202
                                                   Denver, CO 80202
                                                   Telephone: (720) 432-5705
                                                   Facsimile: (720) 379-9214
                                                   Email: gblue@klendagesslerblue.com

                                                   Local Attorney for Plaintiff
                                                   Chase Manufacturing, Inc.

                                                   Jarod Bona
                                                   Steven Levitsky*
                                                    *Admitted only in New York
                                                   Alexandra Shear**
                                                    **Admitted only in New York
                                                   BONA LAW PC
                                                   4275 Executive Square, Suite 200
                                                   La Jolla, CA 92037
                                                   Telephone: (858) 964-4589
                                                   jarod.bona@bonalawpc.com
                                                   steven.levitsky@bonalawpc.com
                                                   alex.shear@bonalawpc.com

                                                   Attorneys for Plaintiff
                                                   Chase Manufacturing, Inc


 Address of Plaintiff:
 29020 40th Ave NW
 Stanwood, WA 98292




                                                 50
Case No. 1:19-cv-00872-MEH Document 30 filed 07/24/19 USDC Colorado pg 51 of 51




                                       Certificate of Service

        I hereby certify that on July 24, 2019, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system which will send notification of such filing to the follow-

 ing persons:

        Gregory J. Kerwin, Esq. (gkerwin@gibsondunn.com)
        Richard H. Cunningham, Esq. (rhcunningham@gibsondunn.com)
        Allison Kostecka, Esq. (akostecka@gibsondunn.com)
        GIBSON, DUNN, CRUTHER LLP
        1801 California Street, Suite 4200
        Denver, CO 80202



                                                       s/Joanna Bila
                                                      Joanna Bila, Paralegal




                                                 51
